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 May 27, 2022

 VIA ECF

 The Honorable Raymond J. Dearie
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:     Ruderman v. Law Office of Yuriy Prakhin, P.C. and Yuriy Prakhin, Esq.,
                No. 1:19-cv-02987-RJD-RLM

 Dear Judge Dearie:

        We represent Plaintiff in the above-referenced action and write jointly with Defendants.
 Pursuant to the Court’s May 13, 2022 Order (see ECF No. 111), the parties hereby respectfully
 submit their Joint Pretrial Order, a copy of which is enclosed herewith.

         In further compliance with the Court’s May 13, 2022 Order, the parties also write to update
 the Court regarding the status of settlement negotiations. Pursuant to the Court’s Order,
 Defendants’ provided Plaintiff with a response to Plaintiff’s settlement demand. However, the
 parties have not yet had an opportunity to engage in further discussions regarding resolution since
 Defendants’ response was just provided. While Plaintiff has proposed that the parties participate
 in private mediation, Defendants do not believe that such exercise would be fruitful in reaching a
 resolution of this matter.

        We thank the Court for its time and attention to this matter.

                                                      Respectfully submitted,



                                                      Alex J. Hartzband

 Cc:    Counsel of Record (via ECF)

 Encl. (1)
